       1 : 23-cr-00644
     Case:  1:23-cr-00644 Document #: 1 Filed: 12/18/23 Page 1 of 12 PageID #:1
        Judge Edmond E. Chang
        Magsitrate Judge Jeffrey Cole
        RANDOM/ CAT 3                                                FILED
                         UNITED STATES DISTRICT COURT                      DEC 18 2023 (1,�M
                         NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION                           THOMAS G. BRUTON
                                                                      CLERK, U.S. DISTRICT COURT

 UNITED STATES OF AMERICA                         No.

           v.                                     Violations: Title 18, United States
                                                  Code, Sections 1343 and 1957
 ALEXIA SPEARS
                                                  UNDER SEAL

                           COUNTS ONE THROUGH TWO

      The SPECIAL NOVEMBER 2023 GRAND JURY charges that:

      1.        At times material to this indictment:

                         The Small Business Administration

                a.    The U.S. Small Business Administration (“SBA”) was a United

States government agency that provided economic support to small businesses.

                          The Paycheck Protection Program

                b.    The Coronavirus Aid, Relief, and Economic Security (“CARES”)

Act was a federal law enacted in or around March 2020 and designed to provide

emergency financial assistance to the millions of Americans who were suffering the

economic effects caused by the COVID-19 pandemic.

                c.    One source of relief provided by the CARES Act was the

authorization of up to $349 billion in forgivable loans to small businesses and sole

proprietors for job retention and certain other expenses, through a program called

the Paycheck Protection Program (“PPP”). In or around April 2020, Congress

authorized over $320 billion in additional funding for PPP loans.
     Case: 1:23-cr-00644 Document #: 1 Filed: 12/18/23 Page 2 of 12 PageID #:2




             d.     To obtain a PPP loan, a business, sole proprietor, or self-employed

individual submitted a PPP loan application, which was signed by the applicant or

an authorized representative of the business. The PPP loan application required the

applicants to acknowledge the program rules and make certain affirmative

certifications regarding the eligibility of the business, proprietorship, or individual.

In the application, businesses, sole proprietors, and self-employed individuals were

required to provide, among other things, their number of employees, average monthly

payroll, and gross income. This figure was used to calculate the applicant’s eligibility

and the amount of money the business could receive under the PPP. Applicants were

also required to make good faith certifications, including that economic uncertainties

had necessitated their loan requests for continued business operations.

             e.     PPP loan proceeds were required to be used by the business, sole

proprietorship, or self-employed individual for certain permissible expenses—payroll

costs, interest on mortgages, rent, and utilities. The PPP allowed the interest and

principal on the PPP loan to be entirely forgiven by the SBA if the business, sole

proprietorship, or self-employed individual spent the loan proceeds on these items

within a designated period of time and used at least a certain percentage of the PPP

loan for payroll expenses.

             f.     To gain access to funds through the PPP, businesses, sole

proprietorships, and self-employed individuals applied to financial institutions




                                           2
     Case: 1:23-cr-00644 Document #: 1 Filed: 12/18/23 Page 3 of 12 PageID #:3




participating in the PPP and received the loans directly from those financial

institutions as the lender.

             g.     Participating lenders required applicants for PPP loans to provide

truthful information about the sole proprietorship, self-employed individual, or

business and its owner, including truthful information about the applicant’s payroll,

income, operating expenses, and how the PPP loan would be used, which information

was material to lenders’ approval, terms, and funding of loans.

                  The Economic Injury Disaster Loan Program

             h.     Another source of relief provided by the CARES Act and other

pandemic-relief legislation was the expansion of the Economic Injury Disaster Loan

(“EIDL”) Program, which provided loan assistance (including advances of up to

$10,000) for businesses with 500 or fewer employees and other eligible entities. The

EIDL Program was designed to provide economic relief to small businesses that were

experiencing a temporary loss of revenue.

             i.     To gain access to funds through the EIDL Program, small

businesses applied through the SBA via an online portal and application. As part of

the EIDL application process, the SBA required applicants to submit truthful

information about the applying entity, its owner, and its financial condition prior to

the COVID-19 pandemic. This information included the entity’s number of employees

as of January 31, 2020; the entity’s gross revenues and cost of goods sold for the 12-

month period prior to January 31, 2020; and the entity’s type of business (i.e., a


                                            3
     Case: 1:23-cr-00644 Document #: 1 Filed: 12/18/23 Page 4 of 12 PageID #:4




business, an agricultural business, a sole proprietorship, a cooperative, among

others); the date on which the business opened; and the date on which the current

owner assumed ownership of the entity. Applicants were required to electronically

certify that the information provided in the application was true and correct and were

warned that a false statement or misrepresentation to the SBA may result in

sanctions, including criminal penalties.

             j.    EIDL funds were issued to small-business applicants directly

from the United States Treasury.

             k.    EIDL Advance was a grant program offered together with the

EIDL Program. EIDL Advance was designed to provide emergency economic relief to

businesses that were experiencing a temporary loss of revenue as a result of the

COVID-19 pandemic. The applicant could request consideration for an EIDL advance

in an application for an EIDL loan. The amount of the advance issued to the small-

business applicant was determined by the number of employees indicated on the

EIDL application, at $1,000 per employee, up to $10,000. If an EIDL advance was

issued, the advance did not need to be repaid.

             l.    If an EIDL application was approved by the SBA, the amount of

the EIDL loan was determined in part based on the statements in the EIDL

application about the entity’s revenues and cost of goods sold for the 12 months prior

to January 31, 2020.




                                           4
     Case: 1:23-cr-00644 Document #: 1 Filed: 12/18/23 Page 5 of 12 PageID #:5




             m.    EIDL Program funds could be used to pay for the ordinary

operating expenses and debts of the entity, including payroll, sick leave, production

costs, utilities, rent, mortgage payments, continuation of health care benefits, and

fixed debt payments.

                                       Lender

             n.    Lender A was a financial technology company which processed

PPP applications and funded PPP loans to approved borrowers. Lender A maintained

computer servers that were located outside of Illinois.

                              The Scheme to Defraud

      2.     Beginning in or around June 2020 and continuing through in or around

June 2021, in the Northern District of Illinois, and elsewhere,

                                 ALEXIA SPEARS,

defendant herein, knowingly devised, intended to devise, and participated in a

scheme to defraud, and to obtain money and property, in connection with applications

for PPP and EIDL funds, by means of materially false and fraudulent pretenses,

representations, and promises, as further described below.

      3.     It was part of the scheme that SPEARS, for the purpose of fraudulently

obtaining approximately $750,732 in PPP and EIDL funds, submitted approximately

nine applications for loans and advances under the PPP and EIDL Programs, on

behalf of businesses and entities purportedly owned and operated by SPEARS,

including Company A and various entities operating under the name “Alexia Spears”


                                          5
     Case: 1:23-cr-00644 Document #: 1 Filed: 12/18/23 Page 6 of 12 PageID #:6




(together, the “Fictitious Entities”); which applications contained materially false

statements and misrepresentations concerning, among other things, the purported

entities’ number of employees, gross revenues, payroll, cost of goods sold, operating

expenses, type of business, and existence as companies with ongoing operations.

                                  The PPP Loan

      4.     It was further part of the scheme that SPEARS prepared, and submitted

to Lender A, a PPP loan application, in which SPEARS falsely and fraudulently

represented that she was the sole proprietor of a business, established in 2017, that

had earned approximately $102,765 in gross income in 2019, and that all PPP loan

proceeds would be used only for business related purposes. SPEARS knew at the time

that she was not a sole proprietor of a business that had earned $102,765 in gross

income in 2019, and she intended to use the loan funds for her personal use and

benefit.

      5.     It was further part of the scheme that, to substantiate the claimed

income of Alexia Spears, SPEARS prepared, and submitted to Lender A, a copy of a

false IRS Form 1040 Schedule C that fraudulently represented that her purported

sole proprietorship had earned $102,765 in 2019. SPEARS knew at the time that

neither she nor her purported sole proprietorship had earned gross income in that

amount in 2019.

      6.     It was further part of the scheme that SPEARS prepared, and submitted

to Lender A, a copy of a falsified statement of a bank account held in her name, which


                                          6
     Case: 1:23-cr-00644 Document #: 1 Filed: 12/18/23 Page 7 of 12 PageID #:7




statement falsely and fraudulently overinflated the amount of money she held in the

bank account and the dates on which that money was held in the account. SPEARS

knew at the time that her bank account did not hold the amount of money documented

in the falsified bank statement and that the bank account was not open on the dates

represented in the statement.

      7.      It was further part of the scheme that, through the submission of the

false and fraudulent PPP loan application, SPEARS caused Lender A to disburse

approximately $20,832 in PPP loan proceeds into a bank account that SPEARS

controlled.

      8.      It was further part of the scheme that SPEARS used the PPP funds that

Lender A disbursed based on the fraudulent PPP application to make cash

withdrawals and to purchase goods and services, including clothing and airline

tickets, all for SPEARS’ personal use and benefit.

                                  The EIDL Loan

      9.      It was further part of the scheme that SPEARS prepared, and submitted

to the SBA, numerous applications for EIDL loans and advances on behalf of several

of the Fictitious Entities, including Company A and various entities purportedly

doing business under her name; in which applications SPEARS made false

statements regarding the dates on which those entities opened for business, the

entities’ gross revenues and costs of goods sold for the 12 months prior to January 31,

2020, and the number of employees employed by those entities as of January 31, 2020.


                                          7
     Case: 1:23-cr-00644 Document #: 1 Filed: 12/18/23 Page 8 of 12 PageID #:8




SPEARS knew at the time that the Fictitious Entities were not operating companies,

had no employees, and did not have the revenues or cost of goods stated in the

applications.

      10.       It was further part of the scheme that, through the submission of the

false and fraudulent EIDL loan applications, SPEARS caused the SBA to disburse

approximately $109,900 in in EIDL loan proceeds and advances into a bank account

that she controlled, and she attempted to fraudulently obtain an additional $620,000

in EIDL proceeds.

      11.       It was further part of the scheme that SPEARS used the EIDL funds

obtained through her submission of fraudulent EIDL applications to make cash

withdrawals and to purchase goods and services, including a 2021 Mercedes Benz

truck, Model GLA250W4, all for SPEARS’ personal use and benefit.

      12.       It was further part of the scheme that SPEARS misrepresented,

concealed, and hid, and caused to be misrepresented, concealed, and hidden, the

existence and purpose of the scheme and the acts done in furtherance of the scheme.

      13.       On or about the dates set forth below, in the Northern District of Illinois,

Eastern Division, and elsewhere, SPEARS, for the purpose of executing the above-

described scheme, knowingly caused to be transmitted by means of wire




                                              8
       Case: 1:23-cr-00644 Document #: 1 Filed: 12/18/23 Page 9 of 12 PageID #:9




communication in interstate commerce certain writings, signs, and signals, listed

below, each such writing, sign, and signal constituting a separate count:

  Count           Date                        Writing, Sign, and Signal
 One         June 15, 2020       an internet transmission of an EIDL loan application
                                 on behalf of Company A, through an SBA server
                                 located outside of Illinois

 Two         March 23, 2021      an internet transmission of a PPP loan application on
                                 behalf of “Alexia Spears,” to Lender A’s computer
                                 servers located outside of Illinois


        In violation of Title 18, United States Code, Section 1343.




                                            9
    Case: 1:23-cr-00644 Document #: 1 Filed: 12/18/23 Page 10 of 12 PageID #:10




                                 COUNT THREE

      The SPECIAL NOVEMBER 2023 GRAND JURY further alleges:

      On or about August 6, 2020, in the Northern District of Illinois, Eastern

Division, and elsewhere,

                                 ALEXIA SPEARS,

defendant herein, knowingly engaged in a monetary transaction in criminally derived

property of a value greater than $10,000, namely, the purchase of a 2021 Mercedes

Benz truck, Model GLA250W4, from Mercedes-Benz of Orland Park, that was derived

from specified unlawful activity, namely, wire fraud;

      In violation of Title 18, United States Code, Section 1957.




                                         10
    Case: 1:23-cr-00644 Document #: 1 Filed: 12/18/23 Page 11 of 12 PageID #:11




                          FORFEITURE ALLEGATION

      The SPECIAL NOVEMBER 2023 GRAND JURY further alleges:

      1.     Upon conviction of an offense in violation of Title 18, United States Code,

Section 1343, as set forth in this Indictment, defendant shall forfeit to the United

States of America any property which constitutes and is derived from proceeds

traceable to the offense, as provided in Title 18, United States Code, Section

981(a)(1)(C), and Title 28, United States Code, Section 2461(c).

      2.     Upon conviction of an offense in violation of Title 18, United States Code,

Section 1957, as set forth in this Indictment, defendant shall forfeit to the United

States of America any property involved in such offense, and any property traceable

to such property, as provided in Title 18, United States Code, Section 982(a)(1).

      3.     The property to be forfeited includes, but is not limited to:

             a.    a personal money judgment in an amount equal to the proceeds

derived from the offenses in violation of Title 18, United States Code, Section 1343,

estimated to be approximately $130,732; and

             b.    a 2021 Mercedes Benz Truck, Model GLA250W4.

      4.     If any of the property described above, as a result of any act or omission

by a defendant: cannot be located upon the exercise of due diligence, has been

transferred or sold to, or deposited with, a third party, has been placed beyond the

jurisdiction of the Court; has been substantially diminished in value; or has been

commingled with other property which cannot be divided without difficulty, the


                                          11
    Case: 1:23-cr-00644 Document #: 1 Filed: 12/18/23 Page 12 of 12 PageID #:12




United States of America shall be entitled to forfeiture of substitute property, as

provided in Title 21, United States Code, Section 853(p).

                                              A TRUE BILL:



                                              FOREPERSON




______________________________
ACTING UNITED STATES ATTORNEY




                                         12
